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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

     Masih Alinejad,

                                     Plaintiff,
                             v.
                                                      Case Number: 1:19-cv-03599-GMH
     The Islamic Republic of Iran et al.,


                                   Defendants.


                             DECLARATION OF


       COMES NOW                       and states as follows:

       1.




       2.




       3.      Since Mr. Alinejad’s case was before Iran’s Revolutionary Court, and it was a case

against national security,
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       4.




       5.      Mr. Alireza Alinejad was arrested on September 24, 2019. After the arrest and

confiscation of his personal properties in September 2019, Mr. Alireza Alinejad was detained in

the solitary cell of Ward 2A of the IRGC Intelligence Organization, which is located within the

Evin Prison Complex. Alireza was under daily, around-the-clock interrogation until the last week

of December 2019. During this time, Mr. Alinejad was refused any communication outside of

solitary confinement and even to meet his family and see his children.

       6.                                  during these interrogations, he was detained in a very

small and dirty cell with one blanket. The length of the cell was hardly longer than his height,

considering the toilet at the end of the cell. The cell was cold and had no window looking outside,

only a small window on the cell door, which was closed constantly unless a guard needed to open

the door or talk to him. He had no open air time; he was either in an interrogation room or his cell.

This prolonged solitary confinement was used as a tactic to isolate and pressure him to confess to

false crimes in his interrogations.
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                                                                                 (2)




                                                               and (3)




       10.     On May 7, 2020, when Alireza did not succumb to the IRGC’s intense tactics and

pressure for 225 days and refused to give a false forced confession or collaborate with the

government, and his arrest did not silence his sister, he was transferred out of solitary confinement

in the IRGC-controlled Ward 2A to the political ward in the Evin Prison to be tried, which was a

different type of threat. He was charged with (1) Propaganda against the state - Art. 500 Iran Penal

Code (“IPC”); (2) Assembling and colluding to act against national security - Art. 610 IPC; and

(3) Insulting the Leader or the Founder of the Islamic Republic - Art. 514 IPC. He was set for trial

before Judge Mohammad Moghiseh, the head of Branch 28 of the Revolutionary Court of Tehran.

       11.
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        12.    On June 26, 2020, his main trial started before Judge Moghiseh,




        U.S. had sanctioned him personally as a judge for severely violating the human rights of

Iranians. On July 15, 2020, Branch 28 of Tehran Revolutionary Court, presided over by Judge

Moghiseh, sentenced Mr. Alinejad to five years in prison on the charge of "Assembly and collusion

against national security," to two years in prison for "insulting the leadership," and to one year in

prison for "propaganda against the regime." Five years of his sentence will be applicable under

article 134.

        13.    On October 18, 2020 Branch 36 of the Tehran Court of Appeals, presided over by

Judge Seyed Ahmad Zargar, upheld Alireza Alinejad's sentence.

        14.




        15.    On May 24, 2021, Alireza was qualified for parole under Iranian law, but his parole

request was denied.

        16.    On August 3, 2021, Mr. Alinejad was released from jail under conditional release.
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